
SMITH, C.
Appeal from a judgment for the defendant and an order denying a new trial. The action was brought to recover the sum of three hundred and forty dollars for services rendered by the plaintiff in effecting a sale of defendant’s land. On the trial the court refused to hear evidence of the contract on the ground it was hot in writing.
The case comes directly under the provisions of section 1634, subdivision 6, of the Civil Code; and similar contracts have uniformly been held invalid by this court. (McCarthy v. Loupe, 62 Cal. 300; Myres v. Surryhne, 67 Cal. 657; Zeimer v. Antisell, 75 Cal. 509; McPhail v. Buell, 87 Cal. 115; Shanklin v. Hall, 100 Cal. 26.) The case of Clark v. Allen, 125 Cal. 276, cited by appellant, has no application. In that case the contract was in writing.
The judgment and order should be affirmed.
Haynes, C., and Gray, C., concurred.
For the reasons given in the foregoing opinion the judgment and order are affirmed.
Garoutte, J., Van Dyke, J., Harrison, J,
